  Case:
  Case: 1:19-cv-06508
        1:21-cv-00819 Document
                      Document #:
                               #: 131
                                  67-3Filed:
                                       Filed:06/14/21
                                              01/11/24Page
                                                       Page11ofof44PageID
                                                                    PageID#:2204
                                                                           #:425




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

  GERALDO IGLESIAS,                         )
                                            )
                       Plaintiff,           )
                                            )
          v.                                )
                                            )         No. 19 C 6508
  REYNALDO GUEVARA; JOANN                   )
  HALVORSEN as SPECIAL                      )
  REPRESENTATIVE for ERNEST                 )
  HALVORSEN; STEVE GAWRYS;                  )         Magistrate Judge
  ANTHONY RICCIO; ROBERT                    )         Maria Valdez
  BIEBEL; and the CITY OF                   )
  CHICAGO,                                  )
                                            )
                       Defendants.          )
                                            )

                                      ORDER

      Defendant City of Chicago’s Motion to Bifurcate Plaintiff’s Monell Claims and

to Stay Monell Discovery [Doc. No. 80] was referred to this Court for disposition. For

the reasons that follow, the motion is denied.

                                    BACKGROUND

      Plaintiff’s complaint, brought under 42 U.S.C. § 1983, alleges that he was

wrongfully convicted of murder because the individual defendants concocted false

evidence, including false witness identifications and testimony from a jailhouse

informant, and suppressed potentially exculpatory evidence. He alleges violation of

due process, unlawful detention, failure to intervene, and conspiracy to deprive

constitutional rights, as well as state law malicious prosecution, intentional

infliction of emotional distress, willful and wanton conduct, and conspiracy claims
   Case:
   Case: 1:19-cv-06508
         1:21-cv-00819 Document
                       Document #:
                                #: 131
                                   67-3Filed:
                                        Filed:06/14/21
                                               01/11/24Page
                                                        Page22ofof44PageID
                                                                     PageID#:2205
                                                                            #:426




against the individual defendants; and a policy and practice (Monell) claim, and

state law respondeat superior and indemnification claims against the City of

Chicago.

                                    DISCUSSION

      Defendants move to bifurcate Plaintiff’s claims against the City and to stay

discovery and trial on those claims. Pursuant to Federal Rule of Civil Procedure

42(b), “[f]or convenience, to avoid prejudice, or to expedite and economize, the court

may order a separate trial of one or more separate issues, claims, crossclaims,

counterclaims, or third-party claims.” Fed. R. Civ. P. 42(b); see Houseman v. U.S.

Aviation Underwriters, 171 F.3d 1117, 1121 (7th Cir. 1999) (“Only one of these

criteria—avoidance of prejudice or judicial economy—need be met before a court can

order separation.”); see also Krocka v. City of Chi., 203 F.3d 507, 516 (7th Cir. 2000)

(“The district court has considerable discretion to order the bifurcation of a trial.”).

      After concluding that bifurcation is appropriate under Rule 42, a court must

then determine whether it would unfairly prejudice the non-moving party or would

violate the Seventh Amendment. Houseman, 171 F.3d at 1121 (“The ultimate

decision to bifurcate under Rule 42(b) is at the court’s discretion and will be

overturned only upon a clear showing of abuse.”); see Allison v. Gallagher, No. 10 C

6887, 2012 WL 4760863, at *1 (N.D. Ill. Oct. 5, 2012) (explaining that the numerous

decisions in this district dealing with the issue “‘reflect[ ] a case-specific assessment

of the advantages and disadvantages of bifurcation’”) (citation omitted).




                                            2
  Case:
  Case: 1:19-cv-06508
        1:21-cv-00819 Document
                      Document #:
                               #: 131
                                  67-3Filed:
                                       Filed:06/14/21
                                              01/11/24Page
                                                       Page33ofof44PageID
                                                                    PageID#:2206
                                                                           #:427




      Defendants argue that bifurcation will promote efficiency and judicial

economy because the City’s liability is entirely dependent on the liability of the

individual officers; and Plaintiff will be entitled to no more damages if he succeeds

on his Monell claim if he prevails against the officers. They further contend that

bifurcation will avoid prejudice to Defendants from the introduction of Monell

evidence at trial and the undue burden of production.

      In support of their claim that allowing Monell discovery to proceed places an

undue burden of production on them, Defendants point to the breadth of policies at

issue and the significant volume of material responsive to Plaintiff’s discovery

requests. First, to the extent that Plaintiff’s Monell requests are objectionable due

to their overbroad subject matter or temporal scope, Defendants have many

remedies available to them under the Federal Rules other than bifurcating Monell

discovery altogether.

      Second, Plaintiff asserts that numerous other cases involving many of the

same defendants and claims are ongoing, and “[d]iscovery from those other cases

can be used in this one, and vice versa, virtually eliminating any burden on the

City.” (Pl.’s Resp. at 7.) Defendants dispute this characterization, stating that

Plaintiff has not promised that production of previously produced Monell discovery

would be sufficient. The Court assumes, however, that Plaintiff understands the

effect of his representation and expects that he will limit the scope of his requests

accordingly.




                                           3
  Case:
  Case: 1:19-cv-06508
        1:21-cv-00819 Document
                      Document #:
                               #: 131
                                  67-3Filed:
                                       Filed:06/14/21
                                              01/11/24Page
                                                       Page44ofof44PageID
                                                                    PageID#:2207
                                                                           #:428




      It is premature to consider whether Defendants would be unfairly prejudiced

if evidence supporting Plaintiff’s Monell claim is introduced at trial, because the

nature and scope of admissible evidence is not yet known. Defendants may again

raise bifurcation with the trial judge at the appropriate time.

                                   CONCLUSION

      For the foregoing reasons, Defendant City of Chicago’s Motion to Bifurcate

Plaintiff’s Monell Claims and to Stay Monell Discovery [Doc. No. 80] is denied.




SO ORDERED.                                    ENTERED:




DATE:        June 14, 2021                     ___________________________
                                               HON. MARIA VALDEZ
                                               United States Magistrate Judge




                                           4
